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13   ELECTRONIC DEVICES (USA), INC.
14                                  UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN FRANCISCO DIVISION

17   IN RE: CATHODE RAY TUBE (CRT)                              CASE NO.: 3:07-cv-05944-SC
     ANTITRUST LITIGATION
18                                                              MDL NO.: 1917
     ________________________________________
19                                                              Individual Case No. 13-cv-1173-SC
     This Document Relates To:
20                                                              DECLARATION OF ROSS MURRAY
     Sharp Electronics Corp., et al. v. Hitachi, Ltd., et al.   RE DISSEMINATION OF
21                                                              HITACHI/SAMSUNG NOTICE TO
                                                                CLASS MEMBERS AND REQUESTS
22                                                              FOR EXCLUSION
23

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     DECLARATION OF ROSS MURRAY RE DISSEMINATION                                             MDL NO.: 1917
     OF HITACHI/SAMSUNG NOTICE TO CLASS MEMBERS                          INDIVIDUAL CASE NOS.: 13-CV-1173-SC
     AND REQUESTS FOR EXCLUSION
        Case 4:07-cv-05944-JST Document 2713-1 Filed 07/28/14 Page 2 of 4



 1          I, Ross Murray, declare as follows:
 2          1.      I am employed by Gilardi & Co., LLC (“Gilardi”), located at 3301 Kerner Blvd., San
 3   Rafael, California. Gilardi was hired by class counsel as the Settlement Administrator in this matter.
 4   I am over 21 years of age and am not a party to this action. I have personal knowledge of the facts
 5   set forth herein and, if called as a witness, could and would testify competently thereto.
 6          2.      Between May 16 and May 29, 2012, Gilardi received from Direct Purchaser
 7   Plaintiffs’ Counsel eight files which included the names, and, where available, the addresses and
 8   electronic mail addresses of all class members identified by Defendants in this matter (“the class
 9   list”). Gilardi formatted the list for mailing purposes, removed duplicate records, removed known
10   Defendant entities, researched company names lacking addresses and added addresses where found,
11   and processed the names and addresses through the National Change of Address Database to update
12   any addresses on file with the United States Postal Service (“USPS”).
13          3.      On April 28, 2014, Gilardi caused Notice of the Direct Purchaser Plaintiffs’
14   settlement with the Hitachi Defendants and Samsung SDI Defendants to be printed and mailed to
15   16,895 unique names and addresses on the class list. Gilardi delivered the Hitachi/Samsung Notices
16   to the United States Post Offices located in Santa Rosa, California. A true and correct copy of the
17   Hitachi/Samsung Notice is attached hereto as Exhibit A.
18          4.      Among those names and addresses were: (1) Sharp, 1 Sharp Plz, Ste. 1, Mahwah, NJ,
19   07495-1123; (2) Sharp Electronic Manufacturing Company of America, 9295 Siempre Viva Rd, Ste
20   J2, San Diego, CA 92154-7641; (3) Sharp Electronics Manufacturing, 9295 Siempre Viva Rd, Ste L,
21   San Diego, CA 92154-7649; (4) Sharp Manufacturing Company (SMCA), Sharp Plaza Blvd,
22   Memphis, TN 38193-0001; (5) Sharp Corp. Parts (accessories/spares) Business, 1300 Naperville Dr,
23   Romeoville, IL 60446-1043; (6) Sharp Corporation, 22-22 Nagaike-Cho Abeno-Ku, Osaka, 545-8,
24   Japan; (7) Sharp Electronics Mexico, AV Jaime Balmes 8 Oficina 80 N, Col Los Moral, Mexico;
25   and (8) Sharp Manufacturing Co. of America, Sharp Plaza Blvd, Memphis, TN 38115. These were
26   the same addresses to which Gilardi mailed notices of previous settlements with other defendant
27   groups. None were returned as undeliverable.
28
     DECLARATION OF ROSS MURRAY RE DISSEMINATION       1                                     MDL NO.: 1917
     OF HITACHI/SAMSUNG NOTICE TO CLASS MEMBERS                          INDIVIDUAL CASE NOS.: 13-CV-1173-SC
     AND REQUESTS FOR EXCLUSION
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